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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
  In re:                                                             Case No. 117-46517-NHL
       SINGH, DALJIT                                                 Chapter 7
                   Debtor



        ORDER AUTHORIZING RETENTION OF ATTORNEY FOR TRUSTEE

       UPON the application of David J. Doyaga, Sr., Trustee herein, dated February 27, 2018,

for an Order of the Court authorizing the Trustee to retain Law Offices of David J. Doyaga (the

"Firm") as attorney for the Trustee under a general retainer (the "Application"), and upon the

Affirmation of Disinterested Person of David J. Doyaga, Sr. Esq. executed on February 27,

2018(the "Affirmation"), and it appearing that Law Offices of David J. Doyaga does not hold

adverse interest to the bankruptcy estate of the above-captioned Debtors and is a "disinterested

person" within the meaning of 11 U.S.C. ' 101(14); after due deliberation, it is hereby

       ORDERED, that pursuant to 11 U.S.C. ' 327(a) and (d), David J. Doyaga, Sr. as Trustee,

is hereby authorized to retain Law Offices of David J. Doyaga to act as his attorneys in this

proceeding under a general retainer, to the extent provided for in the Application and Affirmation,

effective February 27, 2018.The Firm shall seek compensation for legal services upon application

to the Court, and upon notice and a hearing pursuant to 11 U.S.C. '' 330 and 331 and Bankruptcy

Rule 2014 and E.D.N.Y. L.B.R. 2014-1 and the Guidelines of the Office of the United States

Trustee; and it is further
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       ORDERED, that ten (10) business days prior to any increases in the Firm's billing rates for

any individual employed by the Firm and retained by the Trustee pursuant to Court Order, the

Firm shall file a supplemental affidavit with the Court setting forth the basis for the requested rate

increase pursuant to 11 U.S.C. ' 330(a)(3)(F). Parties in interest, including the Office of the

United States Trustee, retain all rights to object to or otherwise respond to any rate increase on

any and all grounds, including, but not limited to the reasonableness standard under 11 U.S.C. '

330. Supplemental affidavits are not required for rate increases effective on or after the date of the

Trustee submits the Trustee's Final Report to the United States Trustee.




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NO OBJECTION

UNITED STATES TRUSTEE




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UNITED STATES BANKRUPTCY COURT

EASTERN DISTRICT OF NEW YORK


  In re:                                                               Case No. 117-46517- NHL

   SINGH, DALJIT,                                                      Chapter 7



                  Debtor.

APPLICATION TO RETAIN COUNSEL

TO THE HONORABLE NANCY HERSHEY LORD

UNITED STATES BANKRUPTCY JUDGE:




           The Application of David J Doyaga, Sr., respectfully shows and represents:


           1. On December 5, 2017, the above captioned Debtor (the "Debtor@) filed a voluntary


petition for relief under Chapter 7 of the United States Bankruptcy Code.


           2. Pursuant to the Notice of Appointment of Interim Trustee, David J. Doyaga, Sr.,


(AApplicant@) was appointed Trustee for the Estate of the Debtor and is now qualified and acting


as such Trustee.


           3. Applicant is an attorney duly admitted to practice law before the bar of this Court and


the Courts of the State of New York.


           4. Applicant seeks a Court Order authorizing retention of Law Offices of David J.


Doyaga as attorneys for the Trustee and believes Law Offices of David J. Doyaga to be qualified

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to act as such in connection with the administration of this estate, as Law Offices of David J.


Doyaga have had substantial experience attorneys in proceedings of this nature.


         5. Law Offices of David J. Doyaga neither holds nor represents any interest adverse to the


Trustee or to the Estate of this Debtor.


         6. The Law Offices of David J. Doyaga have had no connection with the Debtor, its


creditors or any other parties in interest or their respective attorneys.


         7. Trustee submits that Law Offices of David J. Doyaga's retention as attorney, if


approved, would enable the Estate to be administered in an expeditious and economical fashion,


which will be in the best interests of the Estate, its creditors and other parties in interest.


         8. The Trustee believes that counsel will be necessary to assist the Trustee in


anticipated litigation involving the compelled turnover and sale of the Debtor=s nonexempt


property. Upon any future settlement of the litigation, counsel will be needed to move for


the approval of any settlement.


         9. No previous Application for the relief sought herein has been made to this or any other


Court.


         10. The terms of the retention shall be hourly. I presently bill at a rate of $650 an hour


for my time, $375 an hour for my associate and $285 an hour for the time of my paralegal.




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        WHEREFORE, applicant respectfully prays for an order of this Court authorizing the


Trustee to retain Law Offices of David J. Doyaga to act as attorneys in this proceeding under a


general retainer, and that he be granted such other, further, and different relief as to this Court


may seem just and proper.
Dated: Brooklyn, New York
          February 27, 2018

                                         S/ David J. Doyaga, Sr.
                                         David J. Doyaga, Sr. Esq. (dd7297)
                                         26 Court Street
                                         Suite 1601
                                         Brooklyn, New York 11242
                                         (718) 488-7500




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UNITED STATES BANKRUPTCY COURT

EASTERN DISTRICT OF NEW YORK


  In re                                                                Case No. 117-46517-nhl

                                                                       Chapter 7

  SINGH, DALJIT,



                       Debtor.

AFFIRMATION OF DISINTERESTED PARTY




David J. Doyaga, Sr. ESQ., a member of Law Offices of David J. Doyaga affirms as follows:



          1. I am duly admitted to practice before the Bar of this Court and the Courts of the

State of New York, with offices located at 26 Court Street, Suite 1002, Brooklyn, New York 11242.

          2. This matter arises in a Chapter 7 Proceeding pending in the United States Bankruptcy

Court for the Eastern District of New York which requires the administration of the Estate,

specifically the pursuit of assets and claims that the Estate possesses.

          3. To the best of my knowledge, information, and belief, I have no connection in this

matter with the Debtor, the Debtor's attorney, the Debtor's creditors, or any other parties in interest

or their respective attorney except that I am also the Trustee of the above Estate. I did not file the

Debtor's petition for relief under Title 11 of the United States Code, I have not acted as the attorney

for any creditor, or served as an examiner in this proceeding. I verily believe that I am a

disinterested person pursuant to and within the meaning of the United States Bankruptcy Code.

Neither I, nor any of my firm has any connection with the above-named Debtor, nor to the best of

my knowledge, its creditors or any other party in interest, or their respective attorneys, or

accountants, the United States Trustee or any person employed in the Office of the United States

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Trustee. Neither my firm nor I hold any claims against the Debtor and is an "insider" of the Debtor,

as such term is defined in Title 11 of the United States Code (the "Code"). Neither I, nor any of

my firm, including my staff, hold or represent an interest adverse to the Debtor or the Estate.

        4. I represent no interest adverse to the Trustee or the above-referenced Estate as to the

matters upon which I am to be engaged.

        5. No agreement or understanding exists between myself and any other person for a

division of compensation paid or to be paid for services rendered in this proceeding, and in

accordance with Bankruptcy Rule 2016, no division of compensation shall be made by affiant and

no agreement prohibited by 18 U.S.C. ' 155 has been or will be made.

        6. I am the attorney who will bear primary responsibility for the representation of the

Trustee and the Estate of the Debtor herein.

        7. I have read and am generally familiar with the Bankruptcy Code, the Bankruptcy Rules,

and the Local Rules for the United States Bankruptcy Court for both the Southern and Eastern

Districts of New York.

        8. I verily believe I am competent to represent the interests of the Trustee on whose behalf

representation is now sought.
Dated: Brooklyn, New York
            February 27, 2018
                                                 S\ David J. Doyaga, Sr.
                                                 David J. Doyaga, Sr. Esq.(dd7297)
                                                 Law Offices of David J. Doyaga
                                                 Attorneys at Law
                                                 26 Court Street, Suite 1601
                                                 Brooklyn, New York 11242




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